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                                                                        SEALED
                              IN THE UNITED STATES DISTRICT COURT
                                            DISTRICT OF UTAH


     UNITED STATES OF AMERICA,                         INDICTMENT

                Plaintiff,                             VIOLATIONS:

                vs.                                    Count 1: 18 U.S.C. § 371,
                                                       Conspiracy to Defraud the United States
     PLASTIC SURGERY INSTITUTE OF ·
     UTAH, INC.; MICHAEL KIRK MOORE                    Count 2: 18 U.S.C. §§ 371 and 641,
     JR.; KARI DEE BURGOYNE; KRISTIN                   Conspiracy to Convert, Sell, Convey, and
     JACKSON ANDERSEN; AND SANDRA                      Dispose of Government Property
     FLORES,
                                                       Count 3: 18 U.S.C. §§ 641 and 2,
                Defendants.                            Conversion, Sale, Conveyance, and
                                                       Disposal of Government Property and
                                                       Aiding and Abetting

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Assigned To : Nielson, Howard      c., Jr
Assign. Date: 1/10/2023



           The Grand Jury Charges:

                                        Introductory Allegations

           At all times relevant to this Indictment:

           1.         Defendants herein and others !mown and unknown to the Grand Jmy ran a scheme

    out of the Plastic Surgery Institute of Utah, Inc. to defraud the United States and the Centers for
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Disease Control and Prevention ("CDC"), whereby they destroyed hundreds of doses of

government-provided COVID-19 vaccines, and in exchange for either direct cash payments or

required "donations" to a specified charitable organization, defendants distributed COVID-19

vaccination record cards to persons without administering a COVID-19 vaccine to them and

administered saline shots to minor children to trick them into thinking they had received a vaccine.

                                            Defendants

        2.        Defendant PLASTIC SURGERY INSTITUTE OF UTAH, INC. ("PLASTIC

SURGERY INSTITUTE") is a corporation organized under the laws of the state of Utah with its

principal place of business in the state of Utah. PLASTIC SURGERY INSTITUTE operates out

of Midvale, Utah and provides cosmetic surge1y services to patients.

        3.       Defendant MICHAEL KIRK MOORE JR. ("DR. MOORE") was a resident of Salt

Lake County, Utah. DR. MOORE was a board-certified plastic surgeon who owned and operated

the PLASTIC SURGERY INSTITUTE. DR. MOORE was a member of Organization 1, a private

organization seeking to "liberate" the medical profession from government and industty conflicts

of interest.

        4.       Defendant KARI DEE BURGOYNE ("BURGOYNE") was a resident of Salt Lake

County, Utah. BURGOYNE was the Office Manager for the PLASTIC SURGERY INSTITUTE.

        5.        Defendant KRISTIN JACKSON ANDERSEN ("ANDERSEN") was a resident of

Salt Lake County, Utah. ANDERSEN lived in DR. MOORE's neighborhood and knew DR.

MOORE from her own membership in Organization 1.

         6.       Defendant SANDRA FLORES ("FLORES") was a resident of Utah County.

FLORES worked as a receptionist at the PLASTIC SURGERY INSTITUTE.




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                                 The Federal COVID-19 Vaccination Program

        7.       On or about January 31, 2020, the Secretary of the United States Department of

Health and Hnman Services ("HHS") declared a national public health emergency under 42 U.S.C.

§ 247d as a result of the spread of a novel coronavims to and within the United States. This

coronavims was called SARS-CoV-2, and was also known as "COVID-19." On or about March

13, 2020, as a result of the rapid spread ofCOVID-19 within the United States, the President of

the United States issued Proclamation 9994, declaring a national emergency beginning on March

7, 2020. As part of the response to the pandemic, the federal government provided funding to

pharmaceutical and biotechnology companies capable of developing a vaccine for COVID-19.

        8.       On or about December 11, 2020, the United States Food and Dmg Administration

(the "FDA") approved the Pfizer COVID-19 vaccine for emergency use. On or about December

18, 2020, the FDA also approved the Moderna COVID-19 vaccine for emergency use. Each

vaccine was approved as a two-dose regimen.

        9.       Then, on or about Febmary 27, 2021, the FDA issued another emergency use

authorization (EUA) for the Janssen COVID-19 Vaccine. The Janssen COVID-19 Vaccine was

manufactured by Janssen Biotech Inc., a Janssen Phaimaceutical Company of Johnson & Johnson.

The Janssen COVID-19 Vaccine was approved as a single-dose regimen.

         10.     Consistent with these emergency authorizations, the Centers for Disease Control

and Prevention ("CDC") prepared for widespread administration of the COVID-19 vaccines, at a

variety oflocations. The intent was to make a COVID-19 vaccine available to all authorized adults

in the United States who wanted to receive a vaccine.




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        11.      The vaccines were made available exclusively through the United States Federal

Government. There are no third-party resellers of COVID-19 vaccines and no company or

organization is allowed to import COVID-19 vaccines from another country.

        12.      To make the COVID-19 vaccines available to authorized persons in the United

States, the government purchased millions of COVID-19 vaccine doses from Pfizer, Moderna, and

Johnson & Jolmson. The federal government determined that these COVID-19 vaccine doses were

to be distributed at no cost to vaccine recipients through the providers approved by the CDC to

receive and distribute the vaccine.

         13.     From approximately March 2021, the CDC paid at least:

                 a. $20.00 for each adult dose of the Pfizer COVID-19 vaccine with an

                      accompanying diluent;

                 b. $24.50 for each pediatric dose of the Pfizer COVID-19 vaccine;

                 c. $12.25 for each dose of the Modema COVID-19 vaccine; and

                 d. $7.50 for each dose of the Janssen COVID-19 vaccine.

        14.      To further provide for the administration of COVID-19 vaccines, the United States

also contracted with companies to print COVID-19 vaccination record cards according to certain

CDC specifications ("COVID-19 Vaccination Record Cards"). The United States required that the

COVID-19 Vaccination Record Cards include a space to record the dates of the first and (where

needed) second vaccine doses, and that the COVID-19 Vaccination Record Cards be distributed

as part of the vaccine ancillary kits sent to each vaccine distribution location.

         15.     To facilitate the proper administration of the COVID-19 vaccines, the CDC and

HHS also developed rules and protocols for the entities that would administer the vaccines at

locations around the United States ("vaccine distributing entities").




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       16.      These protocols required all vaccine distributing entities that administered the

COVID-19 vaccines at physical locations to provide a COVID-19 Vaccination Record Card to

each vaccine recipient after they had received their COVID-19 vaccine.

        17.      To ensure that vaccine distributing entities appropriately administered the COVID-

19 vaccines and appropriately distributed COVID Vaccination Record Cards, the CDC required

such entities to sign a CDC COVID-19 Vaccination Program Provider Agreement before they

could receive COVID-19 vaccines for distribution to the public. Among other things, these CDC

Provider Agreements required vaccine distributing entities to:

                 a. Administer COVID-19 vaccines in accordance with all requirements and

                       recommendations of the CDC and the CDC's Advisory Connnittee on

                       Immunization Practices;

                 b. Within 24 hours of administering a dose of COVID-19 vaccine, to record the

                       vaccine recipient's record and to report required information to the relevant

                       state, local, or territorial public health authority;

                 c. Not sell or seek reimbursement for any COVID-19 vaccine that the federal

                       government provided to the organization without cost;

                 d. Administer the vaccine regardless of the vaccine recipient's ability to pay for

                       the administration of the vaccine;

                  e. Conduct its COVID-19 vaccination services in compliance with the CDC's

                       Guidance for Immunization Services During the COVID-19 Pandemic for safe

                       delivery of vaccines;

                  f.   Repo1t the number of doses of COVID-19 vaccines that were unused, spoiled,

                       expired, or wasted as required by the relevant jurisdiction;



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                g. Provide a completed COVID-19 vaccination record card to every COVID-19

                    vaccine recipient; and

                h. Administer the COVID-19 vaccines in compliance with all applicable state and

                    territorial vaccination laws.

       18.      The CDC included COVID-19 Vaccination Record Cards in each COVID-19

vaccine shipment to a vaccine distributing entity.

                                               COUNTl
                                             18 U.S.C. § 371
                                (Conspiracy to Defraud the United States)

        19.     The allegations in paragraphs 1-18 are incorporated by reference and re-alleged as

though fully set forth herein.

        20.      On or before May 12, 2021, and continuing to at least September 6, 2022, in the

District of Utah and elsewhere,

                       PLASTIC SURGERY INSTITUTE OF UTAH, INC.,
                              MICHAEL KIRK MOORE JR.,
                                 KARI DEE BURGOYNE,
                           KRISTIN JACKSON ANDERSEN, and
                                   SANDRA FLORES,

defendants herein, did unlawfully, voluntarily, intentionally, and knowingly conspire, combine,

confederate, and agree together and with each other and with other individuals both known and

unknown to the Grand Jury, with interdependence among the members of the conspiracy, to

defraud the United States by deceit, craft, trickery, and dishonest means for the purpose of

impeding, impairing, obstructing, and defeating the lawful governmental functions of the CDC in

distributing and administering authorized COVID-19 vaccines and COVID-19 Vaccination

Record Cards through approved vaccine distributing entities.




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                                         Object of the Conspiracy

        21.      It was the object of the conspiracy for the defendants PLASTIC SURGERY

INSTITUTE, DR. MOORE, BURGOYNE, ANDERSEN, and FLORES, and other individuals to

unlawfully, voluntarily, intentionally, and knowingly defraud the United States of America and an

agency thereof, that is, the Centers for Disease Control and Prevention, by impeding, impairing,

obstructing, and defeating the lawful governmental functions of the CDC in distributing and

administering authorized COVID-19 vaccines and COVID-19 Vaccination Record Cards through

approved vaccine distributing entities.

                                    Manner and Means of the Conspiracy

         22.      Among the manner and means by which defendants PLASTIC SURGERY

INSTITUTE, DR. MOORE, BURGOYNE, ANDERSEN, and FLORES, and others (the "Co-

Conspirators") sought to accomplish the object and purpose of the conspiracy were the following:

                  a.       In furtherance of the conspiracy and with the intent to benefit PLASTIC

SURGERY INSTITUTE, on or about May 12, 2021, DR. MOORE signed a CDC COVID-19

Vaccination Program Provider Agreement so that he could receive COVID-19 vaccines and

COVID-19 Vaccination Record Cards from the CDC at the Plastic Surgery Institute.

                  b.        In furtherance of the conspiracy, and with the intent to benefit PLASTIC

SURGERY INSTITUTE, on or about May 24, 2021, DR. MOORE and BURGOYNE caused

Surgeon !-another plastic surgeon who worked with DR. MOORE at the time-to also sign the

CDC COVID-19 Vaccination Program Provider Agreement. When Surgeon 1 signed the Provider

Agreement, he believed that the Plastic Surgery Institute intended to administer the vaccine as per

the Provider Agreement.




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                 c.       In furtherance of the conspiracy and with the intent to benefit PLASTIC

SURGERY INSTITUTE, between on or about May 24, 2021 and September 23, 2022, DR.

MOORE and BURGOYNE ordered hundreds of doses of COVID-19 vaccines from the CDC,

ostensibly for administration to others at the Plastic Surge1y Institute.

                  d.       In furtherance of the conspiracy, and with the intent to benefit PLASTIC

SURGERY INSTITUTE, on October 15, 2021, DR. MOORE and BURGOYNE and others began

receiving doses of COVID-19 vaccines from the CDC at the Plastic Surgery Institute.

                  e.        In furtherance of the conspiracy, and with the intent to benefit PLASTIC

SURGERY INSTITUTE, on or before October 15, 2021, DR. MOORE, BURGOYNE, and others

began to notify persons seeking to receive a COVID- I 9 Vaccination Record Card without

receiving a vaccine ("Fraudulent Vax Card Seekers") that they could receive fraudulently

completed COVID-19 Vaccination Record Cards from the Plastic Surgery Institute without having

to receive a COVID-19 vaccine.

                  f.       In furtherance of the conspiracy, and with the intent to benefit PLASTIC

SURGERY INSTITUTE, starting on or before November 9, 2021, in exchange for direct cash

payments or directed donations of$50 per person per occurrence, DR. MOORE and BURGOYNE

began to distribute and caused to be distributed COVID-19 Vaccination Record Cards to

Fraudulent Vax Card Seekers who came into the Plastic Surge1y Institute to receive the cards,

without administering a COVID-19 vaccine to them.

                   g.       In furtherance of the conspiracy, and with the intent to benefit PLASTIC

 SURGERY INSTITUTE, DR. MOORE an-anged to have BURGOYNE manage the day-to-day

 logistics of the scheme. DR. MOORE and BURGOYNE set up a screening mechanism for

 Fraudulent Vax Card Seekers. When Fraudulent Vax Card Seekers contacted the Plastic Surgery



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Institute, BURGOYNE would refer them to ANDERSEN and tell them they had to go through

her.

                 h.       In furtherance of the conspiracy, ANDERSEN would then screen the

purported Fraudulent Vax Card Seekers by requiring them to provide her with the name of another

Fraudulent Vax Card Seeker who had already received a COVID-19 Vaccination Record Card

from the Plastic Surge1y Institute without actually receiving a COVID-19 vaccine.

                 1.       In furtherance of the conspiracy, once ANDERSEN had successfully

screened the Fraudulent Vax Card Seekers by verifying the name of their refetrnl, she would

provide them a link to Organization l's website. She would require them to make a $50 "donation"

for each person and each appointment to receive a fraudulent entty on a COVID-19 Vaccination

Record Card suggesting that the person had actually been vaccinated. The $50 "donations" were

made to a "charitable organization" linked to Organization 1.

                  J.       In furtherance of the conspiracy, after the Fraudulent Vax Card Seekers

verified they had made their required $50 "donations," ANDERSEN sent them fonns to complete.

                  k.       In furtherance of the conspiracy, after the required forms were completed

and submitted, ANDERSEN directed Fraudulent Vax Card Seekers to schedule an appointtnent to

pick up a COVID-19 Vaccination Record Card from the Plastic Surgery Institute.

                  I.       In furtherance of the conspiracy, and with the intent to benefit PLASTIC

 SURGERY INSTITUTE, pursuant to Dr. MOORE's and BURGOYNE's instructions, when the

 Fraudulent Vax Card Seekers came to pick up their fraudulent COVID-19 Vaccination Record

 Cards, FLORES and other employees at the Plastic Surgery Institute would then fill in and stamp

 COVID-19 Vaccination Record Cards to falsely indicate that the Fraudulent Vax Card Seekers

 had actually received a dose of a COVID-19 vaccine. Further pursuant to DR. MOORE's and



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BURGOYNE's instructions, FLORES and other employees would then provide the Fraudulent

Vax Card Seekers with the completed COVID-19 Vaccination Record Cards without

administering any COVID-19 vaccine to them.

                 m.       Between on or about October 15, 2021 and at least September 6, 2022, with

the intent to benefit PLASTIC SURGERY INSTITUTE, DR. MOORE, BURGOYNE,

ANDERSEN, FLORES, and others conveyed and sold without authority COVID-19 Vaccination

Record Cards to Fraudulent Vax Card Seekers that were fraudulently completed to falsely reflect

that the Fraudulent Vax Card Seekers had received at least 1937 doses of bona fide COVID-19

vaccines, when, in fact, they had received none.

                 n.       In fi.uiherance of the conspiracy, and with the intent to benefit PLASTIC

SURGERY INSTITUTE, DR. MOORE, BURGOYNE, and FLORES also atTanged, at times, to

administer or have others administer saline shots to minor children at the request of their parents

so that the minor children would think they were actually receiving a COVID-19 vaccine.

                  o.       Between on or about October 15, 2021 and at least September 6, 2022, with

the intent to benefit PLASTIC SURGERY INSTITUTE, defendants DR. MOORE, BURGOYNE,

FLORES, and others uploaded or caused to be uploaded the names of all Fraudulent Vax Card

Seekers who requested it to the Utah Statewide Immunization Information System.

                  p.       In furtherance of the conspiracy, and with the intent to benefit PLASTIC

SURGERY INSTITUTE, DR. MOORE and BURGOYNE continued to atTange to have a total of

approximately 2,200 doses of COVID-19 vaccines delivered to the Plastic Surge1y Institute

without intending to adlninister any of them to the public.

                  q.       In fu1iherance of the conspiracy, and with the intent to benefit PLASTIC

 SURGERY INSTITUTE, the Defendants destroyed or caused to be destroyed viable doses of



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COVID-19 vaccines, usually by drawing them from the bottle and then squirting them down the

drain from a syringe.

                 r.       In furtherance of the conspiracy, and with the intent to benefit PLASTIC

SURGERY INSTITUTE, DR. MOORE and BURGOYNE also arranged for BURGOYNE to

upload or cause to be uploaded the names of all purported COVID-19 vaccine recipients who

requested it to the Utah Statewide Immunization Information System. All told, they caused to be

uploaded to this system records purporting to show that the Plastic Surgery Institute had properly

administered at least 193 7 doses of COVID-19 vaccines.

                 s.       Between on or before October 15, 2021 and at least September 6, 2022, with

the intent to benefit PLASTIC SURGERY INSTITUTE, DR. MOORE, BURGOYNE,

ANDERSEN, FLORES, and others improperly converted and disposed of or caused to be disposed

of at least $28,028.50 worth of COVID-19 vaccines, without administering any of those vaccines

to anyone, as follows:

  Type ofCOVID-19 Vaccine               Number of Doses       Cost Per Dose       Value of Doses

               Janssen                         958                $7.50               $7,185

               Modema                          64                 $12.25               $784

                 Pfizer                        524            $20.00($19.50           $10,480
                                                                 per dose
                                                             + 50-cent diluent
                                                                ner dose)
           Pfizer Pediatric                    391                $24.50             $9,579.50

                                                                   Total:           $28,028.50

                             Overt Acts to Effect the Object of the Conspiracy

         23.      In furtherance of the conspiracy and in order to achieve the unlawful objectives and

 purposes of their conspiracy, PLASTIC SURGERY INSTITUTE, DR. MOORE, BURGOYNE,



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ANDERSEN, FLORES, and others, aiding and abetting each other, committed or caused to be

committed the following ove1i acts, among others, in the District of Utah and elsewhere:

                 a.       On around May 12 and 24, 2021, defendants DR. MOORE and

BURGOYNE signed or caused to be signed a CDC COVID-19 Vaccination Program Provider

Agreement so that DR. MOORE could receive COVID-19 vaccines and CDC COVID-19

Vaccination Record Cards at the Plastic Surgery Institute.

                 b.       On March 3, 2022, when Undercover Agent 1 called the Plastic Surge1y

Institute to inquire about scheduling a "vaccine appointment," BURGOYNE told Undercover

Agent 1 that "eve1ybody needs to go through Kris [ANDERSEN]" and gave Undercover Agent 1

ANDERSEN's phone number.

                 c.       On March 3, 2022, when Undercover Agent 1 called back a few minutes

later and asked BURGOYNE, "Do I still need to contact Kris [ANDERSEN] for the paperwork if

I just want the card and not the vaccine?" BURGOYNE replied, "Yes."

                 d.        On March 10, 2022, when ANDERSEN was sent a text from Undercover

Agent 1's phone inquiring about getting a vaccine card for a cruise, ANDERSEN asked, "Who

refe1Ted you to the clinic?" and declared that, "We go by refenal basis."

                  e.       On March 14, 2022, ANDERSEN received a text from Undercover Agent

1's phone which provided the name of a refen-al. ANDERSEN verified the referral person had in

fact been in to receive a COVID-19 Vaccination Record Card. ANDERSEN then sent Undercover

Agent 1 a text message instructing Undercover Agent 1 to use Venmo or PayPal to make a $50

donation per appointment per person. ANDERSEN instructed Undercover Agent 1 to put an

"orange" in the memo and send ANDERSEN a screenshot of the receipt with Undercover Agent




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1 's "name or pie" on it, and then ANDERSEN would send Undercover Agent 1 the instructions

for the next steps to receive a COVID-19 Vaccination Record Card.

                  f.          On March 16, 2022, ANDERSEN received a text from Undercover Agent

1 's phone indicating that Undercover Agent 1 had paid the $50 donation and included an "orange"

in the memo line according to ANDERSEN's instructions. ANDERSEN then promptly texted

Undercover Agent 1 a link to office forms Undercover Agent 1 needed to complete in order to

schedule an appointment at the Plastic Surgery Institute to obtain a COVID-19 Vaccination Record

Card without receiving a COVID-19 vaccine.

                  g.          On May 20, 2022, ANDERSEN received a text from Undercover Agent 2's

phone, indicating that Undercover Agent 2' s girlfriend had received a vaccine card and that he was

hoping       to         get      one    too,   and     asking   if    it   "still   cost     $50?"

ANDERSEN replied with a text instructing Undercover Agent 2 to use "signal app"-an enc1ypted

instant messaging system-to communicate with her.

                   h.         On May 31, 2022, when Undercover Agent 2 used Signal App to

communicate with ANDERSEN and identified himself, ANDERSEN asked Undercover Agent 2,

 "Who referred you?" ANDERSEN then required Undercover Agent 2 to provide the "full name

 for referral of someone[]" who had already "been in" before she provided Undercover Agent 2

 with instructions to make a $50 donation per appointment per person through Venmo or PayPal.

 ANDERSEN also instructed Undercover Agent 2 to send her a screenshot of the receipt with his

 "name or pie" on it, and advised him that she would then send the instructions for the next steps.

                   i.         On June 1, 2022, after Undercover Agent 2 sent ANDERSEN a screenshot

 showing that he had made the required $50 donation, ANDERSEN texted him instructions, with a

 link to fill out office forms, before Undercover Agent 2 was to call and schedule an appointment




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to retrieve his COVID-19 Vaccination Record Card from the Plastic Surge1y Institute.

ANDERSEN also asked Undercover Agent 2 not to call and ask questions on the clinic number.

                  J.      On June 21, 2022, FLORES completed and distributed to Undercover Agent

2 a COVID-19 Vaccination Record Card indicating that he had received a dose of Pfizer COVID-

19 without administering a vaccine to him and knowing that he had not received a vaccine.

                  k.      On June 21, 2022, when Undercover Agent 2 asked FLORES if his children

could also receive similar COVID-19 Vaccination Record Cards, FLORES wrote on a Post-it note

that "with 18 & younger, we do a saline shot," indicating that minors could receive saline shots

and obtain the cards without receiving a vaccine, and then slipped him the note.

                   I.     On September 23, 2022, BURGOYNE signed a Vaccine Transfer Form on

behalf of PLASTIC SURGERY INSTITUTE, acknowledging that 60 doses of COVID-19

vaccines were received by PLASTIC SURGERY INSTITUTE and that she accepted

accountability for the vaccines.

         All in violation of Title 18, United States Code, Section 371.

                                               COUNT2
                                        18 U.S.C. §§ 371 and 641
               (Conspiracy to Convert, Sell, Convey, and Dispose of Government Property)

         24.       The allegations in paragraphs 1-23 are incorporated by reference and re-alleged as

though fully set forth herein.

         25.       On or before May 12, 2021, and continuing to at least September 23, 2022, in the

District of Utah and elsewhere,

                         PLASTIC SURGERY INSTITUTE OF UTAH, INC.
                                MICHAEL KIRK MOORE JR.,
                                   KARI DEE BURGOYNE,
                             KRISTIN JACKSON ANDERSEN, and
                                     SANDRA FLORES,



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defendants herein, and others did nnlawfully, voluntarily, intentionally, and knowingly conspire,

combine, confederate, and agree together and with each other and with other individuals both

known and unknown to the Grand Jury, with interdependence among the members of the

conspiracy, to commit an offense against the United States, to wit: Conversion and Unauthorized

Sale, Conveyance, and Disposal of Government Property in violation of Title 18, United States

Code, Section 641.

                                         Objects of the Conspiracy

         26.      The objects of the conspiracy were for the defendants PLASTIC SURGERY

INSTITUTE, DR. MOORE, BURGOYNE, ANDERSEN, and FLORES, and other individuals to

nnlawfully, voluntarily, intentionally, and knowingly commit an offense against the United States

of America and an agency thereof, that is, the Centers for Disease Control and Prevention, by (I)

without authority, disposing of the COVID-19 vaccines that were provided to the Plastic Surgery

Institute pursuant to a CDC COVID-19 Vaccination Program Provider Agreement; (2) converting

COVID-19 Vaccination Record Cards to defendants PLASTIC SURGERY INSTITUTE, DR.

MOORE, BURGOYNE, ANDERSEN, and FLORES' own use and the use of others; and (3)

without authority, selling and conveying the COVID-19 Vaccination Record Cards to others-the

COVID-19 Vaccination Record Cards and COVID-19 vaccines being a thing of value of the

United States and a department or agency thereof, and property made or being made under contract

for the United States and a department or agency thereof, that is, the CDC.

                                    Manner and Means of the Conspiracy

         27.      The manner and means of the conspiracy are detailed above in paragraph 22 and

are incorporated by reference and re-alleged as though fully set forth herein.




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                               Overt Acts in Furtherance of the Conspiracy

        28.      The overt acts that PLASTIC SURGERY INSTITUTE, DR. MOORE,

BURGOYNE, ANDERSEN, FLORES, and others connnitted in furtherance of the conspiracy and

to effect its unlawful objectives and purposes, are detailed above in paragraph 23 and are

incorporated by reference and re-alleged as though fully set forth herein.

        All in violation of 18 U.S.C. §§ 371 and 641.

                                          COUNT3
                                    18 U.S.C. §§ 641 and2
 (Conversion, Sale, Conveyance, and Disposal of Government Property and Aiding and Abetting)

         29.      The allegations in paragraphs 1-28 are incorporated by reference and re-alleged as

though fully set forth herein.

         30.      On or about the dates set forth below, in the District of Utah and elsewhere,

                     , PLASTIC SURGERY INSTITUTE OF UTAH, INC.,
                              MICHAEL KIRK MOORE JR.,
                                 KARI DEE BURGOYNE,
                           KRISTIN JACKSON ANDERSEN, and
                                   SANDRA FLORES,

defendants herein, did embezzle, steal, purloin, and knowingly convett to their use or the use of

 another, and without authority, sold, conveyed, and disposed of a thing of value of the United

 States or of a department or agency thereof and of property made or being made under contract for

 the United States and a department or agency thereof, that is, the Centers for Disease Control and

 Prevention, namely approximately 1937 doses ofCOVID-19 vaccines and corresponding COVID-

 19 Vaccination Record Cards, with an aggregate value exceeding $1,000, as follows:

      Dates                Approximate Value of         Approximate Value of             Total Value
  (On or About)             COVID-19 Vaccines          Vaccination Record Cards           of Gov't
                          Improperly Disposed of        Improperly Conveyed               Property

November 9, 2021                   $28,028.50                    $96,850                 $124,878.50
       to                                             (1937 doses' worth x $50 each)
September 6, 2022

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        31.      And did aid, abet, counsel, command, induce and procure the commission of the

offense.

        All in violation of Title 18, United States Code, Sections 641 and 2.

                       NOTICE OF INTENT TO SEEK FORFEITURE

        Pursuant to 18 U.S.C. § 981(a)(l)(C), and 28 U.S.C. § 2461, upon conviction of any

offense charged herein in violation of 18 U.S.C. § 371, defendants shall forfeit to the

United States of America, any property, real or personal, that constitutes or is derived,

directly or indirectly, from gross proceeds traceable to the commission of the offense.

           The property to be forfeited includes, but is not limited to, the following:

           •   All remaining doses ofCOVID-19 vaccines in defendants' possession, custody,

               or control;

           •   All remaining COVID-19 Vaccination Record Cards in defendants' possession,

                custody, or control;

           •   A money judgment in the amount of approximately $124,878.50; and

           •   Substitute property as allowed by 28 U.S.C. § 246l(c) and 21 U.S.C. § 853(p).

           Pursuant to 18 U.S.C. § 981(a)(l)(C), and 28 U.S.C. § 2461, upon conviction of any

 offense charged herein in violation of 18 U.S.C. §§ 371 and 641, defendants shall forfeit

 to the United States of America, any property, real or personal, that constitutes or is

 derived, directly or indirectly, from gross proceeds traceable to the commission of the

 offense.




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       The property to be forfeited includes, but is not limited to, the following:

       •    All remaining doses ofCOVID-19 vaccines in defendants' possession,

            custody, or control;

       •    All remaining COVID-19 Vaccination Record Cards in defendants'

            possession, custody, or control;

       •    A money judgment in the amount of approximately $124,878.50; and

        •   Substitute property as allowed by 28 U.S.C. § 2461(c) and 21 U.S.C. § 853(p).

        Pursuant to 18 U.S.C. § 98l(a)(l)(C), and 28 U.S.C. § 2461, upon conviction of any

offense charged herein in violation of 18 U.S.C. § 641, defendants shall forfeit to the

United States of America, any property, real or personal, that constitutes or is derived,

directly or indirectly, from gross proceeds traceable to the commission of the offense.

        The property to be forfeited includes, but is not limited to, the following:

        •   All remaining doses of COVID-19 vaccines in defendants' possession, custody,

            or control;

        •   All remaining COVID-19 Vaccination Record Cards in defendants'
            possession, custody, or control;




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        •   A money judgment in the amount of approximately $124,878.50; and

        •    Substitute property as allowed by 28 U.S.C. § 2461(c) and 21 U.S.C. § 853(p).

                                                 A TRUE BILL:




                                                  FOREPERSON O GRAND JURY

TRINA A. HIGGINS
United States Attorney



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Todd C. ~
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Assistant United States Attorney




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